                 Case 3:06-cr-00017-BAJ-DLD                           Document 1032                    10/07/15          Page 1 of 1
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                      Middle           District of        Louisiana

                    United States of America
                               v.                                          )
                                                                           )    Case No:       06-17-BAJ-DLD-14
                       Vanshion Joseph Byrd                                )
                                                                           )    USM No: 04499-095
Date of Original Judgment:         10/11/2007                              )
Date of Previous Amended Judgment: 04/19/2010                              )    Rebecca Hudsmith, Federal Public Defender
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney

                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of        the defendant      the Director of the Bureau of Prisons       the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
              DENIED.        GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of                         months is reduced to                                      .
                                              (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                          04/19/2010              shall remain in effect.
IT IS SO ORDERED.

Order Date:                   10/6/2015
                                                                                                         Judge’s signature


Effective Date:              11/02/2015                                               Brian A. Jackson, Chief U.S. District Judge
                     (if different from order date)                                                    Printed name and title
